       Case 2:02-cr-00018-JMS-CMM                           Document 50              Filed 06/30/16         Page 1 of 2 PageID #:
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AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)      Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Southern District
                                                      __________ District of
                                                                          ofIndiana
                                                                             __________

                    United States of America
                               v.                                          )
                          Tony P. McMillin                                 )
                                                                           )    Case No: 2:02CR00018-11
                                                                           )    USM No: 06902-028
Date of Original Judgment:                            07/29/2014           )
Date of Previous Amended Judgment:                                         )    Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ✔ DENIED. u GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
           u
the last judgment issued) of                   months is reduced to                                      .
                                             (Complete Parts I and II of Page 2 when motion is granted)



    Because of the amount of drugs involved in the offense, Mr. McMillin's base offense level was not lowered as a
    result of the changes to the Drug Quantity Table at §2D1.1. Therefore, he is not eligible for a sentence
    reduction pursuant to Amendment 782.

                                                                                                       A CERTIFIED TRUE COPY
                                                                                                       Laura A. Briggs, Clerk
                                                                                                       U.S. District Court
                                                                                                       Southern District of Indiana

                                                                                                       By
                                                                                                                              Deputy Clerk




Except as otherwise provided, all provisions of the judgment dated                                            shall remain in effect.
IT IS SO ORDERED.

Order Date:          06/29/2016
                                                                                              ________________________________
Effective Date:                                                                               LARRY J. McKINNEY, JUDGE
                     (if different from order date)                                           United States District Court
                                                                                              Southern District of Indiana
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